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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    VEROBLUE FARMS USA INC.,                          §
       Plaintiff                                      §
                                                      §
     v.                                               §
                                                      §
    LESLIE A. WULF, BRUCE A. HALL, JAMES              §
    REA, JOHN REA, and KEITH DRIVER,                  §
       Defendants/Founders                            §           CIVIL ACTION NO. 3:19-CV-00764-L
                                                      §
     v.                                               §
                                                      §
    EVA EBSTEIN, JENS HAARKOETTER, BJORN              §
    THELANDER, ANDERS WESTER, NORMAN                  §
    MCCOWAN, DR. OTTO HAPPEL and ALDER                §
    AQUA, LTD.                                        §
      Third-Party Defendants                          §



          THIRD-PARTY PLAINTIFFS’ SUPPLEMENTAL RESPONSE AND BRIEF IN
           OPPOSITION TO THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S
            MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO THE
             TEXAS CITIZEN’S PARTICIPATION ACT ADDRESSING RECENT
                      FIFTH CIRCUIT PRECEDENTIAL OPINION


           Third-Party Plaintiffs, Leslie A. Wulf (“Wulf”), Bruce A. Hall (“Hall”), John E. Rea (“T.

Rea”), and James Rea (“J. Rea”) (collectively “Founders”), file this Supplemental Response and

Dismiss the Third-Party Claims Pursuant to the Texas Citizen’s Participation Act (“Motion to

Dismiss” or “MTD”) [Dkt. No. 114] 1 to advise the Court of the U.S. Court of Appeals for the

Fifth Circuit’s August 23, 2019 decision in Klocke v. UT Arlington, NO. 17-11320, (Aug. 23, 2019,


1
 This is the second of two Motions to Dismiss that McCowan has filed against Founders’ Third-Party Claims [Dkt.
No. 114]. McCowan also filed a Motion to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6). [Dkt. No.
113]. This Response addresses McCowan’s TCPA Motion only and Founders separately responded to McCowan’s
12(b)(6) Motion [Dkt No. 126].

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5th Cir.) (attached hereto as Exhibit A) finding that the TCPA does not apply in federal diversity

cases. The Klocke decision directs immediate denial of McCowan’s Motion to Dismiss. In further

support of this Response, Founders state:

                                            ARGUMENT

       In his Motion to Dismiss, McCowan takes the position that the Texas Citizens Participation

Act (“TCPA”) applies in federal court diversity cases. See MTD, p. 5. McCowan argues

passionately that applying the TCPA in this case is consistent with Fifth Circuit precedent, while

citing to cases exclusively from 2016 and before. See MTD, p. 6. In an attempt to hedge his dubious

legal conclusions (based largely on outdated and irrelevant caselaw), McCowan requested that in

the event this Court is inclined to deny his TCPA Motion to Dismiss, that the Court instead stay

its disposition of the Motion to Dismiss pending the Fifth Circuit’s decision in Klocke v. UT

Arlington, No. 17-11320 (5th Cir.), a case that would decide the issue at hand definitively. See

MTD, p. 12.

       As anticipated, last Friday, in its opinion in Klocke, the Fifth Circuit did resolve whether

the TCPA applies in diversity cases such as this one. Unfortunately for McCowan, the Fifth Circuit

held that the TCPA cannot apply in diversity cases under the Erie Doctrine. In doing so, the Court

largely agreed with a 2015 D.C. Circuit opinion penned by now-U.S. Supreme Court Justice

Kavanaugh, holding that the D.C. anti-SLAPP law does not apply in federal court. Abbas v.

Foreign Policy Grp., LLC, 783 F.3d 1328, 1333 (D.C. Cir. 2015) (Kavanaugh, J.). Abbas held that

“[a] federal court exercising diversity jurisdiction should not apply a state law or rule if (1) a

Federal Rule of Civil Procedure ‘answer[s] the same question’ as the state law or rule and (2) the

Federal Rule does not violate the Rules Enabling Act.” Id. (quoting Shady Grove Orthopedic




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Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 398–99, 130 S. Ct. 1431, 1437 (2010) (majority

op.)).

         Applying that principle to the TCPA, the Fifth Circuit concluded that “Rules 12 and 56,

which govern dismissal and summary judgment motions, respectively, answer the same question

as the anti-SLAPP statute: what are the circumstances under which a court must dismiss a case

before trial?” Klocke, slip op. at 6. “Because the TCPA’s burden-shifting framework imposes

additional requirements beyond those found in Rules 12 and 56 and answers the same question

as those rules, the state law cannot apply in federal court.” Id. at 7 (emphasis supplied). In

reaching this conclusion, the Court stated that “the test of whether a conflict between the Federal

Rules and a state statute exists is not whether it is logically possible for a court to comply with the

requirements of both, but whether the Federal Rules in question are ‘sufficiently broad to control

the issue before the court.’” Id. at 9 (internal quotations omitted).

         The Founders specifically made the very same arguments in their Response to McCowan’s

Motion to Dismiss now adopted by and made precedent by the Fifth Circuit in Klocke.2 As held

by the Fifth Circuit: “the state law [TCPA] cannot apply in federal court.” Klocke, at 7.

Accordingly, Founders request this Court immediately deny McCowan’s Motion to Dismiss in its

entirety, with prejudice.




2
  See Founders’ Response and Brief in Opposition to McCowan’s Motion to Dismiss Pursuant to the TCPA [Dkt. No.
127] p. 5 (“The TCPA thus answers the question of when a party's claims are subject to pre-trial dismissal. Federal
Rules of Civil Procedure 12 and 56 answer the same question.”), p. 6, (“Courts have reasoned that the TCPA does not
change Texas substantive law; it merely changes the standard for dismissal.”), p. 7 (“the TCPA, as written, conflicts
with several Federal Rules of Civil Procedure … to survive a TCPA well-pleaded motion to dismiss, a plaintiff must
provide “clear and specific evidence” for each element of a prima facie case … This “obviously conflicts” with Federal
Rules of Civil Procedure 12(b)(6) and 56, both of which allow claims to proceed to trial by surviving scrutiny under
lesser burdens of proof.”), p. 8 (“McCowan’s brief suffers from the same infirmity by citing the pre-Cuba Fifth Circuit
case, Henry v. Lake Charles Am. Press, LLC, 566 F.3d 164, 169 (5th Cir. 2009), and then presenting an obviously
flawed analysis attempting to couch the TCPA as substantive rather than procedural. The more thorough and informed
view is that the TCPA does not apply in federal court. It is procedural and directly conflicts with the Federal Rules.”)

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                               REQUEST FOR ATTORNEYS’ FEES

        The TCPA specifically provides for the movant to recover attorneys’ fees and costs, as well

as sanctions, if successful. See TEX. CIV. PAC. & REM. CODE § 27.009(a). However, if the court

determines that the motion is frivolous or intended to delay, then the movant is required to pay the

respondent’s attorneys’ fees and costs. See id. at § 27.009(b). “The TCPA does not define

‘frivolous,’ but the word’s common understanding contemplates that a claim or motion will be

considered frivolous if it has ‘no basis in law or fact,’” see WEBSTER’S THIRD NEW INT'L

DICTIONARY (2002) 913, “and ‘lack[s] a legal basis or legal merit,’” see BLACK’S LAW

DICTIONARY (9th ed. 2009) 739. Sullivan v. Tex. Ethics Comm., 551 S.W.3d 848, 857 (Tex. App.

– Austin 2018).

        As detailed in Founders’ Response to McCowan’s Motion to Dismiss, McCown’s

invocation of the TCPA had no basis in law because the TCPA does not apply in federal court.

Although Klocke had not yet been decided when McCowan filed his Motion to Dismiss under the

TCPA, much of the recent precedent from the Fifth Circuit and sister District Courts had refused

to apply the TCPA in federal cases.3 McCowan ignored this set of cases in order to force Founders

to respond to not one, but two different motions to dismiss. McCowan invoked the statute by filing

this Motion to Dismiss, including its fee shifting provisions, and urged the Court that the TCPA

should apply. He cannot now hide behind Klocke in order to avoid the remedial measures it

provides when his Motion to Dismiss is denied as frivolous. Accordingly, the Founders would

respectfully request this Court award Founders their reasonable and necessary attorneys’ fees and

costs incurred in responding to this frivolous motion.



3
 See Founders’ Response and Brief in Opposition to McCowan’s Motion to Dismiss Pursuant to the TCPA [Dkt. No.
127] p. 4-5.

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                                        CONCLUSION

       McCowan urged this Court to await the Fifth Circuit’s decision in Klocke before ruling on

his TCPA Motion to Dismiss. The Fifth Circuit has definitely determined that the TCPA does not

apply in this Court because the TCPA does not create a substantive rule of Texas law and it

unquestionably conflicts with the pre-trial dismissal mechanisms of Federal Rules of Civil

Procedure 12 and 56. In light of the foregoing, Founders pray that the Court deny McCowan’s

Motion to Dismiss and grant such other and further relief, legal and equitable, including but not

limited to an award of attorneys’ fees, to which Founders shows themselves entitled.

Date: August 27, 2019                               LESLIE WULF, BRUCE HALL,
                                            JOHN (TED) REA, JAMES REA


                                            By: /s/ Kimberly D. Annello
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                              CERTIFICATE OF SERVICE
      The undersigned hereby certifies that on August 27, 2019 a true and correct copy of the
above and foregoing was served upon counsel of records for all parties via ECF Service.


                                                  /s/ Eli D. Pierce___
                                                  Eli D. Pierce




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                               Exhibit “A”




                                    7
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          IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                                                                       United States Court of Appeals
                                                                                Fifth Circuit

                                       No. 17-11320                           FILED
                                                                        August 23, 2019
                                                                         Lyle W. Cayce
WAYNE M. KLOCKE,                                                              Clerk
Independent Administrator of
the Estate of Thomas Klocke,

            Plaintiff - Appellant
v.

NICHOLAS MATTHEW WATSON,

            Defendant - Appellee



                    Appeal from the United States District Court
                         for the Northern District of Texas


Before JONES, BARKSDALE, and WILLETT, Circuit Judges.
EDITH H. JONES, Circuit Judge:
      The critical issue in this appeal is whether, or to what extent, the Texas
Citizens Participation Act (“TCPA”), Tex. Civ. Prac. & Rem. Code
§§ 27.001- .011, which is a type of anti-SLAPP statute, 1 applies in a diversity
suit in federal court. The district court held it applicable as a “substantive”
matter and accordingly granted appellee Nicholas Watson’s motion to dismiss
and awarded attorney’s fees pursuant to the TCPA. Resolving an issue that
has brewed for several years in this circuit, we conclude that the TCPA does




      1   SLAPP is an acronym for Strategic Litigation Against Public Participation.
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not apply to diversity cases in federal court and therefore REVERSE and
REMAND for further proceedings.
                                    BACKGROUND
      Appellant Wayne Klocke’s son, Thomas, was a student at the University
of Texas at Arlington who tragically committed suicide in June 2016 after
being refused permission to graduate. Thomas was allegedly the victim of
appellee Watson’s false charge of homophobic harassment, for which the
University administered its severe punishment after allegedly violating
Title IX procedures designed to achieve due process.
      As administrator of his son’s estate, Klocke sued the University for Title
IX violations and Watson for common law defamation and defamation per se.
Watson moved to dismiss the defamation claims under the TCPA.
      Klocke responded in a document titled “Plaintiff’s Objection to
Defendant Watson’s Motion to Dismiss; in the alternative, Motion for
Protective Order and Request for Procedural Clarification from the Court and
Brief in Support.” The response asserted that the TCPA is inapplicable in
federal court, but it did not substantively address Watson’s arguments based
on the requirements of the TCPA. The objection noted that the Fifth Circuit
had not explicitly held whether the TCPA applied in federal court and asked
the district court to clarify “whether and how it will entertain Defendant
Watson’s TCPA motion to dismiss in this case . . . and what procedures and
deadlines will apply.”        Klocke also requested the district court to clarify
whether he must file a reply pursuant to the Northern District of Texas’s Local
Rules or at the motion hearing prescribed in the TCPA. 2 Alternatively, Klocke
moved for discovery and further time to respond substantively to the TCPA
motion if the court held that the TCPA was applicable.


      2   The TCPA mandates a motion hearing. Tex. Civ. Prac. & Rem. Code § 27.004(a)–(c).
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       The district court overruled the objection to applying the TCPA and
concluded that Klocke waived any “substantive” TCPA arguments by failing to
make them within twenty-one days pursuant to Local Rule 7.1(e). The district
court denied his other requests and accordingly granted Watson’s motion to
dismiss. Later, the court awarded Watson $25,000 in attorney’s fees, $3,000
in expenses, and a $1.00 sanction, all pursuant to the TCPA. The district court
entered a “Final Judgment as to Certain Party.” 3 Klocke timely appealed. 4
                              STANDARD OF REVIEW
       This court reviews de novo a decision applying state law in federal court.
See Hall v. GE Plastic Pac. PTE Ltd., 327 F.3d 391, 395 (5th Cir. 2003). The
court reviews “the district court’s administrative handling of a case, including
its enforcement of the local rules and its own scheduling orders, for abuse of
discretion.” Macklin v. City of New Orleans, 293 F.3d 237, 240 (5th Cir. 2002).
Abuse of discretion is also the test on appeal of a “court’s decision to limit
discovery….” Crosby v. La. Health Serv. and Indem. Co., 647 F.3d 258, 261
(5th Cir. 2011).
                                     DISCUSSION
       On appeal, Klocke principally contends that the TCPA’s essentially
“procedural” provisions conflict with federal procedural rules and therefore do
not apply in federal court. He also argues that the district court erred by
enforcing its local rules and not allowing him to respond to Watson’s TCPA

       3  The court denied the University’s Rule 12(b)(6) motion to dismiss, and the case
against that defendant remains pending in the district court. We nevertheless have appellate
jurisdiction over this appeal as to Watson’s dismissal pursuant to Federal Rule of Civil
Procedure 54(b). The court’s dismissal order “As to Certain Party” sufficiently explains that
there was “no just reason for delay” albeit without explicit reference to the Rule itself. See
Stewart v. Miss. Transp. Comm’n, 586 F.3d 321, 327 (5th Cir. 2009).

       4 The court also overruled Klocke’s motion for reconsideration, which sought to offer
evidence in support of the defamation of his son by Watson. The court, however, reiterated
the “substantive” applicability of the TCPA in federal court and rejected Klocke’s evidence,
inter alia, as untimely.
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motion and by denying him an opportunity to move for discovery under the
TCPA.
      A.    Applying the TCPA in federal court?
      The TCPA is an anti-SLAPP (Strategic Litigation Against Public
Participation) statute designed to “encourage and safeguard the constitutional
rights of persons to petition, speak freely, associate freely, and otherwise
participate in government to the maximum extent permitted by law.” Tex. Civ.
Prac. & Rem. Code § 27.002. Other states have passed similar anti-SLAPP
statutes because they “have expressed concerns over the use (or abuse) of
lawsuits that have the purpose or effect of chilling the exercise of First
Amendment rights.”       Henry v. Lake Charles American Press, L.L.C.,
566 F.3d 164, 169 (5th Cir. 2009). In Henry, this court held that Louisiana’s
“nominally procedural” anti-SLAPP statute applies in federal court pursuant
to the Erie doctrine. Id. at 168–69; see LA. CODE CIV. PROC. art. 971. This court
has, however, passed several times on deciding whether, or to what extent, the
TCPA applies in federal court.     Cuba v. Pylant, 814 F.3d 701, 706 & n.6
(5th Cir. 2016); but see id. at 719 (Graves, J., dissenting) (arguing that the
TCPA cannot apply because the state statute conflicts with the Federal Rules);
Block v. Tanenhaus, 867 F.3d 585, 589 n.2 (5th Cir. 2017) (collecting cases). In
this appeal, we are required to confront the question directly.          And we
generally agree with Judge Graves’s conclusion.
      Codified in the Texas Civil Practice and Remedies Code, the TCPA
effectuates a speedy process for resolving litigation that may impinge on a
party’s exercise of the rights to free speech, petition, or association. See Tex.
Civ. Prac. & Rem. Code § 27.003(a).        Under the statutory burden-shifting
framework, if a movant for TCPA relief shows “by a preponderance of the
evidence” that the action is based on the movant’s exercise of the listed rights,
a court must dismiss the case. Id. at § 27.005(b)(1)–(3). But if the non-movant
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“establishes by clear and specific evidence a prima facie case for each element
of the claim in question,” the court may not dismiss. Id. at § 27.005(c). The
movant then may show “by a preponderance of the evidence each essential
element of a valid defense” to the claim and be entitled to dismissal.
Id. at § 27.005(d). Pleadings and affidavits are permissible for evaluating the
dismissal motion and responses. Id. at § 27.006(a). Discovery is generally
stayed while the motion is pending, id. at § 27.003(c), subject to limited
relevant discovery for good cause shown. Id. at § 27.006(b). Specific time limits
are prescribed for the filing of the motion, holding a hearing, and ruling on the
motion.     Id. at § 27.004(a)–(c).      Mandatory attorney’s fees and costs are
awarded to the movant if the case is dismissed, id. at § 27.009(a)(1), and
sanctions may be imposed to deter the party who brought the legal action.
Id. at § 27.009(a)(2).
       The Erie line of authorities holds that substantive state law must be
applied in federal courts in diversity cases like this one, but state procedural
law    yields   to   the    applicable     Federal      Rules.    Hanna      v.    Plumer,
380 U.S. 460, 465, 85 S. Ct. 1136, 1141 (1965). Determining whether the state
law    is   procedural      or   substantive      may     prove   elusive.   See    Cuba,
814 F.3d at 718– 19 (Graves, J., dissenting).               Succinctly put, however,
“[a] federal court exercising diversity jurisdiction should not apply a state law
or rule if (1) a Federal Rule of Civil Procedure ‘answer[s] the same question’ as
the state law or rule and (2) the Federal Rule does not violate the Rules
Enabling Act.”       Abbas v. Foreign Policy Grp., LLC, 783 F.3d 1328, 1333
(D.C. Cir. 2015) (Kavanaugh, J.) (quoting Shady Grove Orthopedic Assocs.,
P.A. v. Allstate Ins. Co., 559 U.S. 393, 398–99, 130 S. Ct. 1431, 1437 (2010)
(majority op.)). Courts do not “wade into Erie’s murky waters unless the
federal     rule     is     inapplicable         or   invalid.”        Shady        Grove,
559 U.S. at 398, 130 S. Ct. at 1437.
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      Relying on Abbas and like decisions, Klocke argues that the TCPA’s
burden-shifting framework and heightened evidentiary standards for pretrial
dismissal collide with and “answer the same question[s]” as Federal Rules of
Civil Procedure 12 and 56. See also Carbone v. Cable News Network, Inc.,
910 F.3d 1345, 1352 (11th Cir. 2018) (Pryor, J.); Makaeff v. Trump Univ., LLC,
715 F.3d 254, 275 (9th Cir. 2013) (Kozinski, C.J., concurring). We find most
persuasive the reasoning of the D.C. Circuit that Rules 12 and 56, which
govern dismissal and summary judgment motions, respectively, answer the
same question as the anti-SLAPP statute: what are the circumstances under
which a court must dismiss a case before trial? Abbas, 783 F.3d at 1333–34.
According to the D.C. Circuit, the Federal Rules and the anti-SLAPP statute
conflict because, unlike the former procedures, the D.C. anti-SLAPP provisions
require the plaintiff to show “a likelihood of success on the merits.” Id. at 1334.
“The D.C. Anti-SLAPP Act, in other words, conflicts with the Federal Rules by
setting up an additional hurdle a plaintiff must jump over to get to trial.” Id.;
but see Godin v. Schencks, 629 F.3d 79, 86–87 (1st Cir. 2010) (holding Maine’s
anti-SLAPP law does not conflict with federal rules, because “neither Fed. R.
Civ. P. 12(b)(6) nor Fed. R. Civ. P. 56, on a straightforward reading of its
language, was meant to control the particular issues under [Maine’s anti-
SLAPP statute] . . . .”); see also Adelson v. Harris, 774 F.3d 803, 809 (2d Cir.
2014) (approving use of Nevada anti-SLAPP law in federal court in part
because “immunity” and fee-shifting statutes are substantive under Erie);
United States ex rel. Newsham v. Lockheed Missiles & Space Co., Inc.,
190 F.3d 963, 973 (9th Cir. 1999).
      The court in Abbas was heavily influenced by the Supreme Court’s
decision in Shady Grove, where a New York statute largely copied the
requirements for class certification under Rule 23 but added that a suit “to
recover a penalty, or minimum measure of recovery created or imposed by
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statute may not be maintained as a class action.”                            Shady Grove,
559 U.S. at 396 n.1, 130 S. Ct. at 1436 n.1.                    Holding the state law
unenforceable in federal court, the Supreme Court decided that Rule 23
“creates a categorical rule entitling a plaintiff whose suit meets the specified
criteria to pursue his claim as a class action.” Id. at 398, 130 S. Ct. at 1437.
After all, “Rule 23 permits all class actions that meet its requirements, and a
State cannot limit that permission by structuring one part of its statute to
track     Rule 23    and    enacting    another         part   that    imposes    additional
requirements.” Id. at 401, 130 S. Ct. at 1439. In other words, both statutes
answered the same question, “whether a class action may proceed for a given
suit,” id., but the state rule imposed additional requirements that Rule 23 did
not.
        In sum, Shady Grove and Abbas hold that a state rule conflicts with a
federal procedural rule when it imposes additional procedural requirements
not found in the federal rules. The rules “answer the same question” when
each specifies requirements for a case to proceed at the same stage of litigation.
        Because the TCPA’s burden-shifting framework imposes additional
requirements beyond those found in Rules 12 and 56 and answers the same
question as those rules, the state law cannot apply in federal court. Under
Rule 12(b)(6), a federal court may dismiss a case for failure to state a claim
upon which relief may be granted if, accepting all well-pleaded factual
allegations as true, the complaint does not state a plausible claim for relief.
Ashcroft v. Iqbal, 556 U.S. 662, 678–79, 129 S. Ct. 1937, 1949–50 (2009). This
is not an insuperable pleading barrier, and it requires no evidentiary support:
“a well-pleaded complaint may proceed even if it strikes a savvy judge that
actual proof of those facts is improbable, and that a recovery is very remote
and     unlikely.”      Bell   Atl.    Corp.       v.   Twombly,      550 U.S.   544,   556,
127 S. Ct. 1955, 1965 (2007) (quotation marks omitted). Rule 56 states that a
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court “shall grant summary judgment if the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to judgment
as a matter of law.” Fed. R. Civ. P. 56(a). The party resisting summary
judgment succeeds simply by showing that a material fact issue exists and
requires trial by a factfinder. In ruling on a summary judgment motion, “the
judge’s function is not himself to weigh the evidence and determine the truth
of the matter but to determine whether there is a genuine issue for trial.”
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249, 106 S. Ct. 2505, 2511
(1986). Summary judgment motions are normally resolved after the discovery
process has concluded or sufficiently progressed.
      In contrast to the federal procedural requirements, the TCPA imposes
additional requirements that demand judicial weighing of evidence. Thus,
confronted with a motion to dismiss under the TCPA, the court must determine
“by a preponderance of the evidence” whether the action relates to a party’s
exercise of First Amendment rights.          Tex. Civ. Prac. & Rem. Code
§ 27.005(b)(1)-(3). The court must also determine whether there is “clear and
specific evidence” that a plaintiff can meet each element of his claim.
Id. at § 27.005(c).   “Clear and specific evidence” must be, inter alia,
“unambiguous, sure, or free from doubt.” In re Lipsky, 460 S.W.3d 579, 590
(Tex. 2015). The standard, which lies somewhere between the state’s pleading
baseline and the standard necessary to prevail at trial, id. at 591, in any event
exceeds the plaintiff’s Rule 56 burden to defeat summary judgment. Finally,
the court must determine “by a preponderance of the evidence” if the defendant
can establish a valid defense to the plaintiff’s claim. Tex. Civ. Prac. & Rem.
Code § 27.005(d). All these determinations are to be made while discovery
normally available in federal court is circumscribed by the TCPA, except for
“good cause.”    Id. at §§ 27.003(c), 27.006(b).    Because the TCPA imposes


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evidentiary weighing requirements not found in the Federal Rules, and
operates largely without pre-decisional discovery, it conflicts with those rules. 5
      Watson advocates the reasoning of the First Circuit, which held that the
Maine anti-SLAPP statute’s requirement that a plaintiff show probable
success “does not seek to displace the Federal Rules or have Rules 12(b)(6) and
56 cease to function.” Godin, 629 F.3d at 88. To be sure, nothing about the
TCPA suggests that a party could not file a Rule 12 or 56 motion in federal
court alongside a TCPA motion to dismiss. The TCPA states that it “does not
abrogate or lessen any other defense, remedy, immunity, or privilege available
under other constitutional, statutory, case, or common law or rule provisions.”
Tex. Civ. Prac. & Rem. Code § 27.011(a). Watson’s reasoning boils down to the
idea that the federal rules impose only minimum procedural requirements and
state rules may build upon them. “But the test of whether a conflict between
the Federal Rules and a state statute exists is not whether it is logically
possible for a court to comply with the requirements of both, but whether the
Federal Rules in question are ‘sufficiently broad to control the issue before the
court.’”   Carbone, 910 F.3d at 1355.           Further, the Federal Rules impose
comprehensive, not minimum, pleading requirements. Rules 8, 12, and 56
“provide a comprehensive framework governing pretrial dismissal and
judgment.” Id. at 1351. These rules “contemplate that a claim will be assessed
on the pleadings alone or under the summary judgment standard; there is no
room for any other device for determining whether a valid claim supported by
sufficient evidence [will] avoid pretrial dismissal.” Id. Watson’s reasoning also



      5 This analysis does not even reach the time constraints imposed by the TCPA for
motions and rulings on dismissals, analogies to which are found nowhere in the Federal
Rules. Although this court analyzed a timeliness requirement in Cuba, we did so because no
party had challenged whether such provisions of the TCPA run afoul of Erie and Shady
Grove. Cuba, 814 F.3d at 706 n.6.

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contravenes Shady Grove’s conclusion that states may not superimpose
additional requirements on the Federal Rules where the provisions “answer
the same question.” 6
       The practical conflict caused by application of the TCPA in federal court
is exemplified in this case, where appellee Watson sought dismissal predicated
solely on the TCPA without alluding to Rule 12(b)(6).                          Klocke was
understandably thrown off balance by this selective choice of procedure, but he
was additionally waylaid when the court applied its own Local Rule deadline
for his response to the motion while declining to explain how the TCPA,
including its limits on discovery, would apply in the case. This court also
grappled with overlap between the TCPA and the Federal Rules in Cuba,
which had to figure out the impact of the TCPA’s denial of a motion to dismiss
by operation of law, Tex. Civ. Prac. & Rem. Code § 27.008(a), on the timeliness
of an appeal to this court. And in Henry, to which we turn momentarily,
whether to grant an interlocutory appeal of the denial of a motion to dismiss
proved vexing.
       Describing the rights afforded certain litigants under the TCPA as
“substantive” fails to address the uncertainty caused by the state statute’s
ongoing conflict with federal rules. We do not disregard the statute’s expressed
purpose to safeguard the exercise of protected First Amendment rights by
expediting such cases to conclusion. But Judge Kozinski’s summary of the




       6 Klocke also alleges that the TCPA’s attorney’s fees and sanctions provisions conflict
with Rules 12(b)(6) and 56. But we need not discuss that issue in detail because those
provisions are not applicable apart from the burden-shifting early dismissal framework. See
Tex. Civ. Prac. & Rem. Code § 27.009(a) (“If the court orders dismissal of a legal action under
this chapter, the court shall award to the moving party” attorney’s fees and possible
sanctions.) (emphasis added). Suffice to say that because the TCPA does not apply in federal
court, the district court erred by awarding fees and sanctions pursuant to it.

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operation of a California anti-SLAPP statute pertains equally to the TCPA: the
statute
      creates no substantive rights; it merely provides a procedural
      mechanism for vindicating existing rights. The language of the
      statute is procedural. . . . The statute deals only with the conduct
      of the lawsuit; it creates no rights independent of existing
      litigation; and its only purpose is the swift termination of certain
      lawsuits the legislators believed to be unduly burdensome.

Makaeff, 715 F.3d at 273 (Kozinski, C.J., concurring) (citation omitted).
      Because a conflict exists, we must also decide, although there is really
no doubt, whether Rules 12 and 56 are “a valid exercise of Congress’s
rulemaking authority” under the Rules Enabling Act. All Plaintiffs v. All
Defendants, 645 F.3d 329, 333 (5th Cir. 2011); see Burlington N. R.R. Co. v.
Woods, 480 U.S. 1, 5, 107 S. Ct. 967, 969–70 (1987).       These federal rules
represent such a valid exercise. “So far, the Supreme Court has rejected every
challenge to the Federal Rules that it has considered under the Rules Enabling
Act.” Abbas, 783 F.3d at 1336. As Sibbach explains, “any federal rule that
‘really regulates procedure’ is valid under the Rules Enabling Act.” Id. at 1337
(quoting Sibbach v. Wilson & Co., 312 U.S. 1, 14, 61 S. Ct. 422, 426 (1941)).
Rules 12 and 56
      are valid under the Rules Enabling Act because they define the
      procedures for determining whether a claim is alleged in a
      sufficient manner in a complaint and whether there is a genuine
      dispute of material fact sufficient to warrant a trial. These Rules
      affect[] only the process of enforcing litigants’ rights and not the
      rights themselves, and thus really regulate procedure.

Carbone, 910 F.3d at 1357 (quotation marks and internal citation omitted)
(alteration in original).
      Watson’s most important potential support derives from the one case in
which this court applied the burden-shifting Louisiana anti-SLAPP statute,

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LA. CODE CIV. PROC. art.    971, and dismissed a case because the plaintiff had not
met its “high burden” of rebutting the motion by showing “a probability of
success” on its claim. Henry, 566 F.3d at 169, 182. In Henry, the court stated
that “Louisiana law, including the nominally-procedural Article 971, governs
this diversity case.” Id. at 168–69. But the court did not discuss the potential
conflict between the state law and federal rules, and Henry preceded the
decision in Shady Grove. A series of subsequent decisions in this court has
pointedly declined to hold Henry controlling on the applicability of the TCPA,
although none of the Texas anti-SLAPP appeals ultimately turned, as does this
case, on actual application of the TCPA’s shifting burdens.
       Although this question is not free from doubt, we conclude that Henry is
not binding on this panel under our rule of orderliness. United States v. Boche-
Perez, 755 F.3d 327, 334 (5th Cir. 2014) (“[A] panel of the court cannot overturn
a prior panel decision absent an intervening change in the law . . . .”) (quotation
marks omitted). Henry interprets a different statute, albeit a different version
of an anti-SLAPP statute. The two states’ laws differ in that Texas imposes
higher and more complex preliminary burdens on the motion to dismiss
process 7 and imposes rigorous procedural deadlines. 8 The conflict between the
Texas law and the Federal Rules is manifest, while the comparable conflict



       7 Texas requires the movant for dismissal to show by a “preponderance of the evidence”
that the lawsuit is based on the movant’s exercise of the right to free speech, petition, or
association. Tex. Civ. Prac. & Rem. Code § 27.005(b)(1)-(3). Louisiana requires a “prima
facie showing.” Henry, 566 F.3d at 170. Texas requires the non-movant to set out a prima
facie case on each element of its claim by “clear and specific evidence,” and then authorizes
rebuttal by a “preponderance of the evidence” on each element of a valid defense to the claim.
Tex. Civ. Prac. & Rem. Code § 27.005(c)-(d). Louisiana requires the plaintiff to demonstrate
“a probability of success on his claim.” LA. CODE CIV. PROC. art. 971(A)(1), (3).

       8The motion to dismiss must generally be filed within 60 days of service of process,
the court must generally hold a hearing no later than 60 days following service of the
dismissal motion, and the court must generally rule on the motion within 30 days after the
hearing. Tex. Civ. Prac. & Rem. Code §§ 27.003(b), 27.004(a)-(b), 27.005(a).
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between the Federal Rules and Louisiana law is less obvious. See, e.g., Block,
815 F.3d at 221 (“[A] non-movant’s burden in opposing an Article 971 motion
to strike is the same as that of a non-movant opposing summary judgment
under Rule 56”). In addition, there is no indication in Henry that the court
considered the potential overlap or conflict between the Louisiana anti-SLAPP
provision and the Federal Rules, nor is it obvious that that case would have
been decided differently, e.g., on summary judgment under the Federal Rules.
And of course, the Henry panel did not have the benefit of the Supreme Court’s
compelling decision in Shady Grove. For these reasons, we conclude that this
panel is not bound by a non-argued, undecided issue in another case
interpreting another state’s dissimilar statute.
      B.    The district court’s enforcement of the local rules
      Klocke also asserts that the district court erred by enforcing the
Northern District of Texas’s Local Rules and holding that he missed the
deadline to respond to Watson’s TCPA motion. Because we conclude that the
TCPA does not apply in this diversity case in federal court, Klocke’s ostensible
waiver is irrelevant. Klocke expressly preserved his argument that the Fifth
Circuit had not explicitly held whether the TCPA applied in federal court. He
is now entitled to pursue his case under the Federal Rules unhindered by the
TCPA. He is likewise free to pursue discovery apart from the district court’s
denial of discovery under the TCPA.
                               CONCLUSION
      The district court’s judgment of dismissal is REVERSED, and the case
is REMANDED for further proceedings consistent with this opinion.




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